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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DON RUPPEL, individually and on behalf of all others
similarly situated,

                              Plaintiff,                  Civil Action No. 16-cv-02444-KMK

       v.

CONSUMERS UNION OF UNITED STATES, INC.,

                              Defendant.



                   NOTICE OF MOTION FOR FINAL APPROVAL OF
                          CLASS ACTION SETTLEMENT

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that on November 30, 2018 at 11:00 a.m. before the

Honorable Kenneth M. Karas, United States District Judge for the Southern District of New

York, 300 Quarropas Street, White Plains, New York 10601, Plaintiff Don Ruppel, by and

through Class Counsel will move and hereby does move for an order: (1) finally approving the

Class Action Settlement, and (2) certifying the Settlement Class.

       PLEASE TAKE FURTHER NOTICE that, in support of the motion, Plaintiff will rely

upon: (1) the accompanying Memorandum of Law, (2) the Declaration of Joseph I. Marchese,

and the exhibits attached thereto (including the Parties’ Class Action Settlement Agreement), and

(3) the Declaration of Jennifer M. Keough, and the exhibits attached thereto.

       PLEASE TAKE FURTHER NOTICE that the undersigned hereby requests oral

argument.

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       A Proposed Final Judgment and Order of Dismissal with Prejudice is submitted herewith.
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Dated: October 17, 2018
                                         Respectfully submitted,


                                         By:    /s/ Joseph I. Marchese
                                                 Joseph I. Marchese

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                                         Class Counsel




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